        Case 1:24-cr-00426-BAH           Document 29       Filed 01/11/25      Page 1 of 4




                          UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       )

               v.                              )      CR. NO. 24-CR-426 (BAH)

WALTER JAMES                                   )


                            MOTION TO DISMISS INDICTMENT

       Walter James, by and through undersigned counsel, respectfully requests this Honorable

Court grant his motion to dismiss the indictment pending against him.

        On September 19, 2024, a grand jury returned a one-count indictment against Mr. James

for committing a hate crime in violation of 18 U.S.C § 249(a)(1). On November 26, 2024,

Mr. James informed this court he wished to avail himself of his Sixth Amendment right to a jury

trial. Trial is set to begin on January 13, 2025.

       Title 18 U.S.C. § 249(a)(1) provides in relevant part, “[w]hoever, whether or not acting

under color of law, willfully causes bodily injury to any person, or . . . attempts to cause bodily

injury to any person, because of the actual or perceived race, color, religion, or national origin of

any person” shall be punished as outlined in § 249(a)(1)(A)–(B). Prosecutions for violations of

§ 249(a), however, are subject to a strict statutory prerequisite: under 18 U.S.C. § 249(b),

       No prosecution of any offense in th[e] subsection may be undertaken by the United
       States, except under the certification in writing of the Attorney General, or a
       designee, that—
       (A) the State does not have jurisdiction;
       (B) the State has requested that the Federal Government assume jurisdiction;
       (C) the verdict or sentence obtained pursuant to State charges left
           demonstratively unvindicated the Federal interest in eradicating bias-
           motivated violence; or
       (D) a prosecution by the United States is in the public interest and necessary to
           secure substantial justice.
         Case 1:24-cr-00426-BAH                Document 29           Filed 01/11/25         Page 2 of 4




         Mr. James makes two arguments. First, § 249(a)(1) is unconstitutional as applied to him

because criminalizing the alleged assault exceeds Congress’s power under the Thirteenth

Amendment. 1 Second, because the government has not provided proof of certification by the

Attorney General in this case, this prosecution should not have been undertaken and cannot

continue.

         The federal government is one of limited powers, and therefore cannot criminalize behavior

beyond its jurisdiction. See United States v. Fox, 95 U.S. 670, 672 (1878); “This constitutionally

mandated division of authority ‘was adopted by the Framers to ensure protection of our

fundamental liberties.’” United States v. Lopez, 514 U.S. 549, 552 (1995 (quoting Gregory v.

Ashcroft, 501 U.S. 452, 458, (1991)). “Just as the separation and independence of the coordinate

branches of the Federal Government serve to prevent the accumulation of excessive power in any

one branch, a healthy balance of power between the States and the Federal Government will reduce

the risk of tyranny and abuse from either front.” Id. A simple assault, like the one alleged here, is

very much beyond Congress’s jurisdiction. Congress, therefore, must identify one of its

enumerated powers to support to justify reaching into the ambit of state criminal law.

         Congress relied on its powers under the Thirteenth Amendment to enact § 249(a)(1). In

enacting the law, Congress concluded that “slavery and involuntary servitude were enforced, both

prior to and after the adoption of the 13th Amendment . . ., through widespread public and private

violence directed at persons because of their race, color, or ancestry, or perceived race, color or

ancestry,” and “eliminating racially motivated violence is an important means of eliminating . . .




1
 Mr. James does not dispute Congress’s authority to criminalize hate crimes via the Commerce Clause in
§ 249(a)(2). Indeed, seeking to eradicate hate-motivated violence is an admirable and important goal for the State
but it is not always within the limited powers of our federal government.
        Case 1:24-cr-00426-BAH           Document 29       Filed 01/11/25     Page 3 of 4




the badges, incidents, and relics of slavery and involuntary servitude.” United States v. Roof, 10

F.4th 314, 390 (4th Cir. 2021) (quoting 34 U.S.C. § 30501(7)).

       But Congress exceeded its limited power under the Thirteenth Amendment when it passed

§ 249(a)(1). The Amendment generally forbids “slavery and involuntary servitude” in the United

States.” U.S. Const. amend. XIII, § 1. And importantly, section 2 of the Amendment gives

Congress the power to enforce the amendment only “by appropriate legislation.” Id. § 2. Section

249(a)(1) is not, however, “appropriate legislation,” as clarified by the Supreme Court since the

passing of the Thirteenth Amendment.

       In The Civil Rights Cases, 109 U.S. 3, 20 (1883), the Supreme Court recognized that the

Thirteenth Amendment gave Congress “power to pass all laws necessary and proper for abolishing

all badges and incidents of slavery in the United States.” But the Court made clear that this power

was not unlimited. Id. at 20. In particular, the Amendment did not authorize Congress to outlaw

discrimination in public accommodations because such discrimination had “nothing to do with

slavery or involuntary servitude.” Id. at 24.

       Congress’s powers under the Thirteenth Amendment are limited to legislating against the

“badges” and “incidents” of slavery. In 1968, the Court clarified that Congress has the power

“rationally” to identify “badges and the incidents of slavery,” and to enact “effective legislation”

in response. Jones v. Alfred H. Mayer Co., 392 U.S. 409, 440 (1968). In Jones, the Court accepted

Congress’s authority to create a private right-of-action against housing discrimination, because it

rationally and appropriately addressed an identified harm which was a “badge” of slavery. Id. But

Jones did not confer unbridled power to legislate under the Thirteenth Amendment. Rather, it

carefully examined the legislative record before concluding Section 1982 was “necessary and
        Case 1:24-cr-00426-BAH          Document 29        Filed 01/11/25      Page 4 of 4




proper” to end housing discrimination—an evident “badge” of slavery—against African-

Americans. Id. at 439-43.

       Moreover, § 249(a)(1) is unconstitutional as applied to Mr. James in this case because the

alleged victim in this case “belong[s] to demographic groups that have never experienced or been

at risk of slavery in this country.” United States v. Hougen, 76 F.4th 805, 824 (9th Cir. 2023)

(Ikuta, J., dissenting). The Thirteenth Amendment which was enacted to address slavery in the

United States, therefore, cannot support the prosecution of the alleged assault in this case.

       Mr. James also argues that the indictment must be dismissed because there was no proper

certification under § 249(b)(1). Section 249(b)(1) requires that before any prosecution is

undertaken, the Attorney General certify in writing why such a prosecution is occurring. See

generally Roof, 10 F.4th at 395-96 (discussing 249(a)(1) prosecution certifications). Mr. James,

however, has not been presented with proof of certification in this case. The certification

requirement is a statutory prerequisite to prosecution under § 249(a)(1). A lack of certification

taints the entire prosecution, including but not limited to rendering the indictment defective.

Without proof of certification, the indictment must be dismissed.

                                              Respectfully submitted,

                                              A.J. KRAMER
                                              FEDERAL PUBLIC DEFENDER

                                                            /s/
                                              _________________________________
                                              Ubong Akpan
                                              Tezira Abe
                                              Assistant Federal Public Defenders
                                              625 Indiana Avenue, N.W., Suite 550
                                              Washington, D.C. 20004
                                              (202) 208-7500
